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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 USA,                                                Case No. 17-cr-00609-VC-1
                 Plaintiff,
                                                     ORDER GRANTING CONTINUANCE
          v.

 JOSE INEZ GARCIA-ZARATE,
                 Defendant.



         Garcia-Zarate's request to continue the trial until the Supreme Court issues a ruling in

Gamble v. United States is granted. See Gamble v. United States, 138 S. Ct. 2707 (2018)

(granting petition for certiorari). There is a serious possibility that the Supreme Court's ruling in

that case will require dismissal of the charges against Garcia-Zarate. Postponement of the trial

for a few months will present no public safety concern, because the defendant will remain in

custody pending trial (or pending the Supreme Court's ruling). Nor has the government

articulated any realistic concern that its case against Garcia-Zarate would be weakened by a
delay of a few months, or that the delay would otherwise harm the public interest. For all these

reasons, the ends of justice served by continuing the trial outweigh any interest in proceeding to

trial immediately. See 18 U.S.C. § 3161(h)(7); United States v. Martin, 742 F.2d 512 (9th Cir.

1984).

         IT IS SO ORDERED.

Dated: August 24, 2018
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
